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9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
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      DARNELL BLACK, SR.,                   Case No. CV 21-06401 RGK (RAO)
13
                       Plaintiff,
14
                  v.                        JUDGMENT
15
16    RALPH DIAZ, et al.,

17                     Defendants.

18
19         In accordance with the Order Dismissing Complaint issued concurrently
20   herewith,
21         IT IS ORDERED AND ADJUDGED that Plaintiff’s Complaint is
22   DISMISSED without prejudice, and this action is dismissed.
23
24   DATE: November 19, 2021             ___________________________________
                                         R. GARY KLAUSNER
25
                                         UNITED STATES DISTRICT JUDGE
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27
28
